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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

 EDWARD WHITLOCK,

       Plaintiff,
 v.                                     CASE NO.:

 CLIMATE CONTROL
 MECHANICAL SERVICES,
 INC.,

     Defendant.
 ______________________/

            COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, EDWARD WHITLOCK, by and through undersigned

 counsel, brings this action against Defendant, CLIMATE CONTROL

 MECHANICAL SERVICES, INC. (“Defendant”), and in support of his claims

 states as follows:

                       JURISDICTION AND VENUE

       1.     This is an action for damages under the Fair Labor Standards

 Act (“FLSA”), 29 U.S.C. § 201 et seq., for failure to pay overtime wages under

 29 U.S.C. § 215(a)(3).

       2.     This Court has subject matter jurisdiction under 28 U.S.C. §

 1331 and 29 U.S.C. § 201 et seq.

       3.     Venue is proper in the Middle District of Florida, because all of

 the events giving rise to these claims occurred in Marion County, Florida.
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                                      PARTIES

       4.       Plaintiff is a resident of Marion County, Florida.

       5.       Defendant operates a commercial HVAC production and

 service company in Ocala, Marion County, Florida.

                           GENERAL ALLEGATIONS

       6.       Plaintiff has satisfied all conditions precedent, or they have

 been waived.

       7.       Plaintiff has hired the undersigned attorneys and agreed to pay

 them a fee.

       8.       Plaintiff requests a jury trial for all issues so triable.

       9.       At all times material hereto, Plaintiff was “engaged in the

 production of goods” for commerce within the meaning of Sections 6 and 7

 of the FLSA, and as such was subject to the individual coverage of the FLSA.

       10.      At all times material hereto, Defendant was an “employer”

 within the meaning of the FLSA, 29 U.S.C. § 203(d).

       11.      Defendant continues to be an “employer” within the meaning

 of the FLSA.

       12.      At all times material hereto, Defendant was and continues to be

 an enterprise covered by the FLSA, as defined under 29 U.S.C. §§ 203(r) and

 203(s).




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       13.    At all times relevant to this action, Defendant was engaged in

 interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

       14.    At all times relevant to this action, the annual gross sales

 volume of Defendant exceeded $500,000 per year.

                                    FACTS

       15.    Plaintiff began working for Defendant as a Warehouse Manager

 in January 2018, and he worked in this capacity until April 7, 2021.

       16.    Plaintiff spent essentially all of his time with Defendant

 performing physical tasks. He could not hire or fire any of Defendant’s

 employees and did not supervise any other employees.

       17.    Plaintiff ws paid an hourly wage.

       18.    At various times material hereto, Plaintiff worked hours in

 excess of forty (40) hours within a work week for Defendant, and he was

 entitled to be compensated for these overtime hours at a rate equal to one

 and one-half times his regular hourly rate.

       19.    Defendant failed to pay Plaintiff an overtime premium for all of

 the overtime hours that he worked, in violation of the FLSA.

       20.    Throughout Plaintiff’s entire tenure with Defendant, he arrived

 forty minutes before the start of his shift every day so he could unlock the

 facility, perform janitorial work, and prepare for the day.




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       21.    Defendant was aware that Plaintiff was working this time and

 still did not pay him at all for these overtime hours.

       22.    Defendant’s actions were willful, and showed reckless disregard

 for the provisions of the FLSA.

               COUNT I – FLSA OVERTIME VIOLATION

       23.    Plaintiff realleges and readopts the allegations of paragraphs 1

 through 22 of this Complaint, as though fully set forth herein.

       24.    During the statutory period, Plaintiff worked overtime hours

 while employed by Defendant, and he was not compensated for all of these

 hours in accordance with the FLSA.

       25.    The foregoing conduct, as alleged, constitutes a willful violation

 of the FLSA, within the meaning of 29 U.S.C. § 255(a).

       26.    As a result of the foregoing, Plaintiff has suffered damages.

       WHEREFORE, Plaintiff demands:

              a)    Judgment against Defendant for an amount equal to

                    Plaintiff’s unpaid back wages at the applicable overtime

                    rate;

              b)    Judgment against Defendant stating that Defendant’s

                    violations of the FLSA were willful;

              c)    An equal amount to Plaintiff’s overtime damages as

                    liquidated damages;


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             d)   To the extent liquidated damages are not awarded, an

                  award of prejudgment interest;

             e)   A declaratory judgment that Defendant’s practices as to

                  Plaintiff were unlawful, and grant Plaintiff equitable

                  relief;

             f)   All costs and attorney’s fees incurred in prosecuting these

                  claims; and

             g)   For such further relief as this Court deems just and

                  equitable.




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                          JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.

       Dated this 22nd day of June, 2021.

                                          Respectfully submitted,




                                          _______________________
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